                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION
                              NO. 5:23-CV-00493-FL

    INTERDIGITAL INC.,                            )
    INTERDIGITAL VC HOLDINGS, INC.,               )
    INTERDIGITAL PATENT HOLDINGS,                 )
    INC., and                                     )
    INTERDIGITAL MADISON PATENT                   )
    HOLDINGS SAS,                                 )           MOTION TO DISMISS
                  Plaintiffs,                     )           Fed. R. Civ. P. 12(b)(6)
           v.                                     )
                                                  )
    LENOVO GROUP LIMITED,                         )
    LENOVO (UNITED STATES) INC., and              )
    MOTOROLA MOBILITY LLC,                        )
                 Defendants.                      )
                                                  )


     DEFENDANTS LENOVO (UNITED STATES) INC. AND MOTOROLA MOBILITY
     LLC’S MOTION TO DISMISS COUNTS IV AND V OF THE COMPLAINT WITH
               PREJUDICE PURSUANT TO FED. R. CIV. P. 12(B)(6)

        InterDigital, Inc., InterDigital VC Holdings, Inc., InterDigital Patent Holdings, Inc., and

InterDigital Madison Patent Holdings SAS (collectively, “InterDigital” or “Plaintiffs”) accuses

Lenovo (United States) Inc. and Motorola Mobility LLC (collectively, “Lenovo”)1 of infringing

five patents. Compl., ECF No. 1, ¶¶ 86, 99. At least two of these patents are not drawn to

patent-eligible subject matter under 35 U.S.C. § 101. Namely, the claims of U.S. Pat. No.

9,173,054 (“the ’054 patent”) and U.S. Patent No. 8,737,933 (“the ’933 patent”) embody the

abstract idea of wirelessly transferring data and lack an inventive concept sufficient to make the

claims patent eligible. Consequently, pursuant to Fed. R. Civ. P. 12(b)(6), Lenovo respectfully

moves the Court to dismiss with prejudice Counts IV and V of InterDigital’s Complaint, which


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 This motion is on behalf of defendants Lenovo (United States) Inc. and Motorola Mobility LLC
and not on behalf of Lenovo Group Limited.
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           Case 5:23-cv-00493-FL Document 13 Filed 10/10/23 Page 1 of 3
allege that Lenovo infringes the ’054 and ’933 patents because these patents are not directed to

patent-eligible subject matter under 35 U.S.C. § 101. F.R.C.P. 12(b)(6).

       The grounds for this motion are set forth more fully in the memorandum submitted

herewith.

       This 10th day of October 2023.

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                                             Forthcoming

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                                             Forthcoming



                                                2


            Case 5:23-cv-00493-FL Document 13 Filed 10/10/23 Page 2 of 3
                           Lenovo (United States) Inc. and Motorola Mobility
                           LLC




                              3


Case 5:23-cv-00493-FL Document 13 Filed 10/10/23 Page 3 of 3
